                         Case 3:18-cv-04865-EMC Document 615-2 Filed 01/24/23 Page 1 of 9


                         In re Tesla, Inc. Securities Litigation, Case No. 3:18-cv-04865-EMC (N.D. Cal.)
                               Defendants’ Witness and Exhibit List for Day 3 - January 20, 2023


Witness       Ex.    Plaintiff’s Objection                        Defendants’ Response                     Ruling
Joseph Fath   8      No objection.                                N/A
Joseph Fath   13     No objection.                                N/A
Joseph Fath   53     No objection.                                N/A
Deepak        8      No objection.                                N/A
Ahuja
Deepak        12     No objection.                                N/A
Ahuja
Deepak        13     No objection.                                N/A
Ahuja
Deepak        53     No objection.                                N/A
Ahuja
Deepak        79     No objection.                                N/A
Ahuja
Deepak        81     No objection.                                N/A
Ahuja
Deepak        82     No objection.                                N/A
Ahuja
Deepak        83     No objection.                                N/A
Ahuja
Deepak        87     No objection.                                N/A
Ahuja
Deepak        89     No objection.                                N/A
Ahuja
Deepak        121    Plaintiff will consider agreeing to redact   N/A                                      O (subject to
Ahuja         at 4   irrelevant text messages, or text messages                                            redaction)
                     with persons not identified in this
                     litigation. However, Plaintiff does not
                     agree to separate each of Mr. Musk’s text
                     messages for each witness. Mr. Musk’s
                     text messages need to be read in context




                                                                     1
                       Case 3:18-cv-04865-EMC Document 615-2 Filed 01/24/23 Page 2 of 9


                      In re Tesla, Inc. Securities Litigation, Case No. 3:18-cv-04865-EMC (N.D. Cal.)
                            Defendants’ Witness and Exhibit List for Day 3 - January 20, 2023

Witness     Ex.   Plaintiff’s Objection                          Defendants’ Response                                           Ruling
                  and having multiple versions of Exhibit
                  121 would be confusing to the jury.
Deepak      298   Fed. R. Evid. 801, 805.                        Exhibit 298 is not hearsay (nor hearsay within hearsay)        O
Ahuja                                                            because Defendants are not using it for the truth of the
                  This is an August 7, 2018, email thread        matter asserted (i.e., to prove that the Financial Times was
                  including Mr. Arnold, Mr. Ahuja, Mr.           in fact “planning to run a story,” or that the story caused
                  Viecha, Mr. Teller, Ms. O’Brien, Mr.           Tesla’s stock price to rise). Rather, Exhibit 298 reflects
                  Mumtaz and Mr. Rothenberg indicating           Mr. Ahuja’s and Mr. Arnold’s state of mind and what they
                  that the Financial Times has reached out       understood/were informed about was happening in the
                  for comment and discussing Tesla’s             market on the afternoon of August 7, 2018, the first day of
                  response to the Financial Times Article.       the class period. Further, Mr. Arnold’s email quotes from
                  The email also states that “[t]he              and links to the referenced Financial Times article.
                  [Financial Times] article is out. Share        Consistent with the Court’s directives, what the market
                  price is going nuts as a result:” and          knew during the class period is relevant. (1/18 Tr. at
                  including the article in the body of the       286:6-12 (“the effect on the listener, the market, if it’s
                  email. To the extent Defendants seek to        during the class period, it’s relevant.” “So the critical
                  introduce this exhibit for the truth of the    question is what was heard during the class period.”).)
                  matter, i.e., that the share price was going   Tesla and the market received and were evaluating the
                  nuts because of the article, it is improper    Financial Times article and Mr. Musk’s tweets on the very
                  hearsay. Additionally, the article within      same day.
                  the email contains hearsay, and is
                  therefore hearsay within hearsay. Finally,
                  Mr. Arnold’s summary of his
                  conversation with Mr. Waters at the
                  Financial Times is hearsay.
Nii Koney   8     No objection.                                  N/A
Nii Koney   58    No objection.                                  N/A
Nii Koney   62    No objection.                                  N/A
Nii Koney   68    No objection.                                  N/A
David       87    No objection.                                  N/A
Arnold




                                                                     2
                         Case 3:18-cv-04865-EMC Document 615-2 Filed 01/24/23 Page 3 of 9


                         In re Tesla, Inc. Securities Litigation, Case No. 3:18-cv-04865-EMC (N.D. Cal.)
                               Defendants’ Witness and Exhibit List for Day 3 - January 20, 2023

Witness      Ex.    Plaintiff’s Objection                         Defendants’ Response                                            Ruling
David        298    Fed. R. Evid. 801, 805. See above 298.        See response to Exhibit 298 above.                              O
Arnold


Witness   Dep.            Plaintiff’s Objection              Defendants’ Response                                                 Ruling
Nii       56:15-57:1;     Fed. R. Evid. 403.                 Plaintiff’s objection is contrary to the Court’s recent Orders,      O
Koney     57:14-58:13;                                       where the Court ruled that analysts’ interpretation of Mr.
          58:17-59:01;    The designated testimony           Musk’s tweets and the status of the take private are relevant to
          59:8-14;        concerning whether funding         the market’s perception of Mr. Musk’s statements. (ECF No.
          77:3-14;        secured was a verbal               575 at 2 (“to the extent that particular analyst reports or
                          commitment or an offer letter      statements by individual investors bear on the market’s
                          is unduly prejudicial. This        perception of or weight given to the misrepresentations, these
                          questioning and testimony          materials will generally be deemed relevant and admissible for a
                          contradict the Court’s             non-hearsay purpose”); 1/18 Tr. at 286:13-17 (“opinion-makers,
                          summary judgment order and         influencers -- you know, that’s what they’re called on social
                          should be excluded as it will      media, but, but JP Morgan, and others who are commenting.
                          confuse the jury.                  Their comments during the class period is relevant, because of
                                                             the effect on the listener”).) The Court has indicated a
                                                             willingness to allow Plaintiff to offer evidence of analyst
                                                             opinions. If the Court were to sustain Plaintiff’s objection here,
                                                             that would improperly leave the jury with a one-sided view of
                                                             analyst interpretations.

                                                             Plaintiff has fought hard to introduce testimony concerning how
                                                             certain analysts interpreted Mr. Musk’s tweets when that
                                                             testimony is helpful to Plaintiff (e.g., Ryan Brinkman/JP
                                                             Morgan, Joseph Fath/T Rowe Price). At the same time,
                                                             however, Plaintiff seeks to prevent other analysts (e.g., Nii
                                                             Koney/Jennsion) from testifying as to how they understood Mr.
                                                             Musk’s tweets, simply because Plaintiff does not like their
                                                             testimony. Tellingly, Plaintiff does not object to Defendants’
                                                             designations of Mr. Fath’s interpretation of “funding secured,”
                                                             but does so for Mr. Koney. (105:10-19.) Plaintiff cannot have
                                                             it both ways. Mr. Koney’s testimony on these relevant topics is



                                                                      3
                      Case 3:18-cv-04865-EMC Document 615-2 Filed 01/24/23 Page 4 of 9


                      In re Tesla, Inc. Securities Litigation, Case No. 3:18-cv-04865-EMC (N.D. Cal.)
                            Defendants’ Witness and Exhibit List for Day 3 - January 20, 2023

Witness   Dep.         Plaintiff’s Objection             Defendants’ Response                                               Ruling
                                                         no more prejudicial to Plaintiff than the testimony of the other
                                                         analysts that Plaintiff cherry picked is to Defendants.

                                                         Further, Plaintiff is wrong that Mr. Koney’s testimony
                                                         “contradict[s] the Court’s summary judgment order.” Mr.
                                                         Koney does not testify that funding was secured, nor could he.
                                                         So Mr. Koney’s testimony could not possibly “confuse the jury”
                                                         into believing that funding was in fact secured. As a market
                                                         participant and major investor in Tesla, Mr. Koney testified as to
                                                         his understanding of Mr. Musk’s statements and what he
                                                         interpreted those statements to meant for the status of funding.
                                                         (E.g., Koney being asked how he interpreted “funding secured,”
                                                         being asked “What is your understanding of a firm offer of
                                                         funding?,” being asked “What did you understand [the
                                                         statements] to mean?”)*
Nii       59:17-22;    Fed. R. Evid. 106, 401, 402       See Koney response above.*                                         S on
Koney     59:24-25     403.                                                                                                 completeness
                                                         Mr. Koney testified as to his interpretation of Mr. Musk’s         grounds. The
                       Designated testimony omits the    statements and the weight he gave them. (And he did not testify designated
                       questions that these answers      “I don’t know.”)                                                   testimony
                       are responsive to and creates                                                                        shall include
                       the misleading impression that                                                                       59:8-14.
                       they are responses to different
                       questions. However, even with                                                                        The complete
                       the inclusion of the questions,                                                                      designation
                       59:17-22, the testimony is                                                                           shall be: 59:8-
                       unduly prejudicial and will                                                                          14; 59:17-22;
                       confuse the jury as it                                                                               59:24-25
                       contradicts the Court’s
                       summary judgment order and
                       should be excluded. Testimony
                       at 59:24-25 is effectively “I
                       don’t know” and therefore has
                       a low probability to reach its



                                                                  4
                      Case 3:18-cv-04865-EMC Document 615-2 Filed 01/24/23 Page 5 of 9


                      In re Tesla, Inc. Securities Litigation, Case No. 3:18-cv-04865-EMC (N.D. Cal.)
                            Defendants’ Witness and Exhibit List for Day 3 - January 20, 2023

Witness   Dep.         Plaintiff’s Objection              Defendants’ Response                                            Ruling
                       proof purpose of a relevant fact
                       in issue.
Nii       75:2-76:5    Fed. R. Evid. 403                  See Koney response above.*                                      O
Koney
                       Mr. Koney testifies that “In my    Mr. Koney expressly noted that his testimony was based on
                       view, based on analyzing           “[his] view” and from “analyzing everything that had come out
                       everything that had come out       over the prior two days.”
                       over the prior two days was
                       that, one, he wasn’t lying
                       about funding being secured,
                       but also know him to be the
                       type the person to jump the gun
                       on disclosing information.”
                       This questioning and testimony
                       contradict the Court’s
                       summary judgment order and
                       should be excluded as it will
                       confuse the jury.
Nii       146:11-25    Fed. R. Evid. 403                  See Koney response above.*                                      S
Koney
                       Counsel asked a leading
                       question incorporating
                       testimony, “I don’t think Elon
                       is lying.” 146:24. This
                       questioning and responsive
                       testimony contradict the
                       Court’s summary judgment
                       order and should be excluded
                       as it will confuse the jury.
Nii       152:14-      Fed. R. Evid. 401, 402, 403.       See Koney response above.*                                      O
Koney     153:17
                       Testimony regarding the
                       witness’ impression of Mr.
                       Musk’s phone demeanor



                                                                  5
                          Case 3:18-cv-04865-EMC Document 615-2 Filed 01/24/23 Page 6 of 9


                          In re Tesla, Inc. Securities Litigation, Case No. 3:18-cv-04865-EMC (N.D. Cal.)
                                Defendants’ Witness and Exhibit List for Day 3 - January 20, 2023

Witness   Dep.             Plaintiff’s Objection               Defendants’ Response                                               Ruling
                           during the conversation has a
                           low probability of reaching its
                           proof purpose of a relevant fact
                           in issue and should be
                           excluded. This designated
                           testimony is also entirely
                           duplicative of earlier testimony
                           regarding the content of Mr.
                           Koney’s phone call with Mr.
                           Musk. See Koney Tr. At
                           101:24-104:5.
Nii       162:20-21        Fed. R. Evid. 403                   See Koney response above.*                                         S
Koney
                           Counsel directs the witness to
                           look at a portion of an exhibit
                           and dates on the record, “First I
                           don’t think Elon is lying.”
                           This questioning
                           contradicts the Court’s
                           summary judgment order and
                           should be excluded as it will
                           confuse the jury. Removing
                           this prejudicial line will not
                           affect the actual question,
                           which begins in earnest on line
                           162:23.
Nii       Other Counter    Plaintiff does not object to the    N/A
Koney     Designations     other testimony counter
                           designated by Defendants for
                           Nii Owuraka Koney.
Joseph    47:18-48:9       Fed. R. Evid. 106.                  Defendants’ designated testimony of 47:18-48:9 is complete as-     S on
Fath                                                           is. It includes the entirety of the questions and answers within   completeness
                           Include 48:10-12.                   that citation. Plaintiff now—months after the designation          grounds. The
                                                               deadline—seeks to add to Plaintiff’s designations under the        designated



                                                                        6
                    Case 3:18-cv-04865-EMC Document 615-2 Filed 01/24/23 Page 7 of 9


                    In re Tesla, Inc. Securities Litigation, Case No. 3:18-cv-04865-EMC (N.D. Cal.)
                          Defendants’ Witness and Exhibit List for Day 3 - January 20, 2023

Witness   Dep.       Plaintiff’s Objection                Defendants’ Response                                                Ruling
                                                          guise of completeness. Plaintiff’s request to belatedly designate   testimony
                                                          additional testimony should be denied.                              shall include
                                                                                                                              48:10-12.

                                                                                                                              The complete
                                                                                                                              designation
                                                                                                                              shall be:
                                                                                                                              47:18-48:12.
Joseph    102:19-    Fed. R. Evid. 401, 402, 403          Plaintiff has designated testimony concerning why T Rowe            S
Fath      104:21                                          Price “made the decision to exit Tesla stock.” In response to
                     Fath testifies to reinvesting in     Plaintiff’s questions, Mr. Fath testified that T Rowe Price had
                     Tesla and that the stock “was        lost “confidence in Elon Musk’s leadership.” (99:09-100:19)
                     almost [] triple” in price. The      Plaintiff’s designated testimony is highly misleading without
                     Court has already ruled that         including Defendants’ designations, which show that,
                     Tesla’s stock movement after         notwithstanding Mr. Fath’s claim of lack of confidence in Mr.
                     the class is irrelevant. See Final   Musk, T Rowe Price reopened a large position in Tesla shortly
                     Pretrial Order at 29, Section c      thereafter. To the extent the Court is inclined to sustain
                     (Granting in Part Plaintiff’s        Plaintiff’s objection, it should be limited to 103:25-104:21.
                     MIL No. 5 relating to “(6)
                     evidence related to Tesla’s
                     economic and financial
                     performance since 2018”).
Joseph    105:5-9    Fed. R. Evid 403.                    The Court has already ruled that analysts’ interpretation of Mr.    O
Fath                                                      Musk’s tweets are relevant to the market’s perception of Mr.
                     Defendants’ prior counsel asks       Musk’s statements. (ECF No. 575 at 2 (“to the extent that
                     Mr. Fath, “Were you aware            particular analyst reports or statements by individual investors
                     that as of August 2018, various      bear on the market’s perception of or weight given to the
                     analysts were interpreting the       misrepresentations, these materials will generally be deemed
                     phrase ‘funding secured’ in          relevant and admissible for a non-hearsay purpose”); 1/18 Tr. at
                     different ways?” This                286:13-17 (“opinion-makers, influencers -- you know, that’s
                     questioning and testimony is         what they’re called on social media, but, but JP Morgan, and
                     prejudicial to Plaintiff as          others who are commenting. Their comments during the class
                     Defense Counsel did not              period is relevant, because of the effect on the listener”).) Mr.
                     introduce any analyst reports or     Fath’s knowledge (or lack of knowledge) of how other investors



                                                                   7
                      Case 3:18-cv-04865-EMC Document 615-2 Filed 01/24/23 Page 8 of 9


                      In re Tesla, Inc. Securities Litigation, Case No. 3:18-cv-04865-EMC (N.D. Cal.)
                            Defendants’ Witness and Exhibit List for Day 3 - January 20, 2023

Witness   Dep.         Plaintiff’s Objection              Defendants’ Response                                                Ruling
                       lay the proper foundation. It is   in the marketplace interpreted “funding secured” is relevant to
                       therefore, improper.               understand how Mr. Fath interpreted the phrase and the
                                                          conclusions he drew from it.
Joseph    105:19-22    Fed. R. Evid. 403.                 See Koney response above.*                                          O
Fath
                       Defendants’ prior counsel asks     Plaintiff cherry picks certain helpful testimony of Mr. Fath but
                       Mr. Fath, “secured funding         objects to harmful testimony on the very same pages on the very
                       could mean a verbal                same topics. Plaintiff cannot have it both ways.
                       commitment, could mean a
                       written commitment; is that
                       right?” A: “That’s correct”.
                       This questioning and testimony
                       contradict the Court’s
                       summary judgment order that a
                       verbal commitment did not
                       mean funding was secured and
                       should be excluded as it will
                       confuse the jury.
Joseph    107:17-23    Fed. R. Evid. 403.                 See Koney response above.*                                          O
Fath
                       Defendants’ prior counsel asks     Mr. Fath never testified (nor could he) that funding was secured.
                       Mr. Fath, “And there could be
                       a take-private proposal where
                       funding is secured, but a
                       transaction might not end up
                       occurring for all sorts of
                       reasons, correct?” A:
                       “Correct”.
                       This questioning and testimony
                       contradict the Court’s
                       summary judgment order that
                       funding was not secured and
                       should be excluded as it will
                       confuse the jury.



                                                                   8
                          Case 3:18-cv-04865-EMC Document 615-2 Filed 01/24/23 Page 9 of 9


                          In re Tesla, Inc. Securities Litigation, Case No. 3:18-cv-04865-EMC (N.D. Cal.)
                                Defendants’ Witness and Exhibit List for Day 3 - January 20, 2023

Witness   Dep.             Plaintiff’s Objection              Defendants’ Response                          Ruling
Joseph    Other Counter    Plaintiff does not object to the   N/A
Fath      Designations     other testimony counter
                           designated by Defendants for
                           Joseph Fath.




                                                                     9
